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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  MAHMOUD KHALIL,

                             Petitioner,             Civil Action No. 25-cv-01963 (MEF) (MAH)

                 v.
                                                     DECLARATION OF
  WILLIAM P. JOYCE, et al.,                          ARTHUR J. WILSON, JR.

                             Respondents.




         I, Arthur J. Wilson, Jr., make the following statements under oath and subject to the
 penalty of perjury in accordance with the provisions of 28 U.S.C. 1746.
         1.     I am currently employed as the Deputy Field Office Director with U.S. Department of
 Homeland Security (“DHS”), U.S. Immigration and Customs Enforcement (“ICE”), Enforcement
 and Removal Operations (“ERO”), in Newark, New Jersey. In this position, I direct and maintain
 oversight of all immigration enforcement operations and activities in all 21 counties of the State of
 New Jersey. This includes oversight of detention operations at the Elizabeth Contract Detention
 Facility (“ECDF”), in Elizabeth, New Jersey.
         2.     I make this declaration based upon my professional and personal knowledge.
         3.     While ICE is still able to meet applicable detention standards, including the
 provision of adequate care to detainees, ECDF is currently over capacity. ERO is currently using
 ECDF to decompress other facilities in the area, while simultaneously attempting to decompress
 ECDF.
         4.     The bedspace capacity at ECDF is 304. At this time, ECDF is over capacity with
 occupancy at approximately 355, and looking to reduce the number of detainees to 304.
         I declare under penalty of perjury that the foregoing is true and correct to the best of my
 information, knowledge, and belief and based upon records maintained in the ordinary course of
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 business.
        Executed this 17th day of June 2025.
                                               ARTHUR J WILSON Digitally
                                                               WILSON JR
                                                                         signed by ARTHUR J

                                                __________________________
                                               JR              Date: 2025.06.17  14:11:33 -04'00'

                                               Arthur J. Wilson, Jr.
                                               Deputy Field Office Director
                                               U.S. Immigration and Customs Enforcement
                                               Newark, New Jersey




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